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    ""'AO 245B (CASD) (Rev,4114'1    Judgment in a Criminal Case
                Sheet 1




                                                 UNITED STATES DISTRICT COURr(':'L~_"                                                   ,.,~~,.,.~.
                                                      SOUTHERN mSTRICT OF CALIFORNIA

                     UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                                           v.                                              (for Offenses Committed On or After November 1, 1987)

                           Bradley West Reynolds -1 5                                      Case Number: 13-cr-0451O-JAH-15

                                                                                           Stacie Patterson
                                                                                           Defendant's Attorney
    REGISTRATION NO. 46200298
    Igj Modification of Supervision Conditions (18 U.S.c. § 3563 (c) or 3583 (e»
    THE DEFENDANT:
    Igj pleaded guilty to count( s) One of the Superseding Indictment.
     D was found gUilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
    Title & Section                             Nature of Offense                                                                            Number(s)
18:1962(d); 18:1963,                     Conspiracy to Conduct Enterprise Affairs Through A Pattern of Racketeering Activit) 1
lS94(d) and 2428(a)




        The defendant is sentenced as provided in pages 2 through                      5            ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s)
                                                                 ----------------------------------------------
 Igj Count(S),.;.re.:...,m.:...,a:::,in::;i.:...,ng::;'...-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0
                                                                                  arelgj dismissed on the motion ofthe United States.
 Igj Assessment: $100.00.


 181 No fine                                            o    Forfeiture pursuant to order filed
                                                                                                         ----------------- , included herein.
       IT IS ORDERED that the defendant shall notify the lJ nited States Attorney for this district within 30 days of any change of name. residence,
 or mailing address until all fines. restitution. costs, and speeial assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                            J3-cr-0451O-JAH-IS
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AD 2458 (CASD) (ReY, 4;14) Judgment in 9 Criminal Case
           Sheet 2 - Imprisonment

                                                                                                 Judgment ­   Page _ _2_ of      5
 DEFENDANT: Bradley West Reynolds -1
 CASE NUMBER: 13-cr-04510-JAH-15
                                                           IMPRISONMENT
         The defendant is hereby Gommitt"d to the custody ofthe United States Bureau of Pril;om: to be imprisoned for a term of
         Thirty months.




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Da.m.     Dp·m.         on
               as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        -------------------------------------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                      to

 at __________________ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL

                                                                      By
                                                                            -----~D~E~Pu~~~Y~UN~'I=TE=D~S='T~A~T=ES~M~AR~S=H~A7L---------




                                                                                                                     13-cr-04510-JAH-15
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AO 245B (CASD) (Rev.4114) Judgment in 9 Cnmmal Case
              Sheet 3 - Supervised Rele!lSe
                                                                                                               Judgment Page    ~         of ___5;....__
DEFENDANT: Bradley West Reynolds -1                                                                    II
CASE NUMBER: 13-cr-04S10-JAH-15
                                                           SUPERVISED RELEASE
Upon release from imprbonmvnt, the dehmdant BhOlll be on supervised relesQe for II. term of:
Three years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month dunng
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).                                                          .
        The derendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as dIrected
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides. works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applieable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in aecordance with the Schedule of Payments set
forth in this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
 any special conditions imposed.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judieial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instruetions of the probation offieer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation offieer for schooling. training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, exeept as prescribed by a physician;
   8)     the defendant shall not frequent places where eontrolled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  II)     the defendant shall notify the probation officer within seventy~two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristies and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with sueh notification requirement.

                                                                                                                                    13-cr-04510-JAH-15
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      Continued 2 - Supervised Release

    Defendant: REYNOLDS, Bradley West


     CASE NUMBER: 13CR04510-15-JAH

                                         SPECIAL CONDITIONS OF SUPERVISION


1. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

2. Resolve all outstanding warrants within 90 days.

3. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or data storage devices or media,
As well as social media accounts, and effects to search at any time, with or without a warrant, by any law enforcement or probation officer
with reasonable suspicion concerning a violation of a condition of supervised release or unlawful conduct, and otherwise in the lawful
discharge of the officer's duties. 18 U.S.c. § 3583 (d)(3).

 4. Not use or possess devices which can communicate data via modem or dedicated connection and may not have access to the
Internet without prior approval from the court or the probation officer. The offender shall consent to the installation of systems that
will enable the probation officer to monitor computer use on any computer owned or controlled by the offender. The offender shall pay
for the cost of installation of the computer software.


5. Provide complete disclosure of personal and business financial records to the probation officer as requested.


6. Shall not associate with any known member, prospect, or associate of the MOB/Skanless, or any other gang, or club with a history
of criminal activity, unless given permission by the probation officer. (Excluding defendant's brother).


7. Not have any contact, dircct or indirect, either telephonically, visually, verbally or through written material, or through any third­
party communication, with the victim or victim's family, without prior approval ofthe probation officer.


8. Shall not loiter, or be present in locations known to be areas where known gang members congregate, unless given permission by
the probation officer.


9.. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with a known
gang, unless given permission by the probation officer.


10. ~ot associate with known prostitutes or known pimps and/or loiter in areas frequented by those engaged in prostitution.


12. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed
by the probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be
required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on ability to pay.
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                                                                  5




Defendant: REYNOLDS, Bradley West                                                                 Judgment~Page ~        of ~

CASE NUMBER: 13CR04510·15·JAH


                                        SPECIAL CONDITIONS OF SUPERVISION



13. And you are also to participate in a program of mental health treatment as directed by the probation officer. And you are to take
all medication prescribed by a psychiatrist or physician, and you are not to discontinue any medication unless given permission by that
treatment provider or the court. You may be required to contribute to the cost of that treatment based upon your ability to pay as
determined by the probation officer. And you are to allow reciprocal release of information between the treatment provider and the
probation officer to facilitate your treatment and rehabilitation. And you'll consent to the probation officer's release of the
pre-sentence report and any other materials that may assist the treatment provider in your rehabilitation and treatment.


14. Reside in a half-way house for up to 120 days. (Non-punitive).
